[.` .. .,\ l

Case 1:14-CV-01317-RGA Document 184 Filed 01/29/16 Page 1 of 31 Page|D #: 7940

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMGEN INC.; AMGEN MANUFACTURING,
LlMlTED; AMGEN USA lNC.,
C.A.No.: 14-1317-SLR
Plaintiff, (CONSOLIDATED with C.A. Nos.:

l4-l349-SLR, l4-l 393-SLR, l4-l4l4-SLR)
v.

SANOFI; SANOFI-AVENTIS U.S. LLC;
AVENTISUB LLC, f/d/b/a AVENTIS

PHARMACEUTICALS INC., and REGENERON

)
)
)
)
§
) JURY TRIAL DEMANDEI)
)
§
PHARMACEUTICALS, rNC., )
)
)

Defendants.

SUPPLEMENTAL AND SECOND AMENDED COMPLAINT FOR PA_TENT
INFRINGEMENT AND DECLARAT()RY JUDGMENT OF PATENT INFRINGEMENT

Plaintiffs Amgen Inc., Amgen USA lnc. and Amgen Manufacturing (collectively
“Amgen”), by their attorneys, alleges as follows for its Complaint for Patent Infn`ngement and
for a Declaratory Judgment of Patent Infn'ngement against Sanofi; Sanofl-Aventis U.S. LLC;
Aventisub LLC, formerly doing business as Aventis Pharmaceuticals Inc.; and Regeneron
Pharmaceuticals, Inc. (collectively “Defendants”):

NATURE OF THE ACTION

l. This is an action for patent infringement and for a declaratory judgment of patent
infringement of United States Patent Nos. 8,563,698, 8,829,165, _8,859,74], 8,871,913,
8,871,914, 8,883,983, and 8,889,834. This action arises out of Defendants’ past, current, and/or
imminent manufacture, use, sale, offer to sell Within the United States, and/or importation to the
United States, of Defendants’ anti-PCSK9 antibody developed under the compound name

“alirocumab” for treatment of dyslipidemia and other cholesterol disorders.

01117684858.1

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 2 of 31 Page|D #: 7941

'I`HE PARTIES

2. Plaintit`f Amgen Inc. is a corporation organized under the laws of the State of
Delaware with its principal place of business at One Amgen Center Drive, Thousand Oaks,
Califomia.

3. Amgen Manufacturing, Limited (“AML”) is a Bermuda corporation with its
principal place of business in Juncos, Puerto Rico.

4. Amgen USA Inc. (“Amgen USA”) is a corporation organized under the laws of
the State of Delaware with its principal place of business in Thousand Oaks, Califomia.

5. Amgen is a global biotechnology company committed to using discoveries in
human biology to invent, develop, manufacture, and sell new therapeutic products for the benefit
of patients suffering from serious illness in areas of high unmet medical need. A biotechnology
pioneer since 1980, Amgen’s products are used by millions of patients around the world Amgen
has long been a leader in research and development of human therapeutics in the areas of
metabolic disorders, nephrology, oncology, inflammation, and neurology. Amgen is extending
its experience and leadership in these human therapeutic areas to address unmet medical needs in
cardiovascular disease. Toward that end, Amgen has been investing in research and
development to address important scientific questions, and to build a robust cardiology pipeline
consisting of several investigational molecules, with the vision of improving the lives of patients
with cardiovascular disease

6. Upon information and belief, Defendant Sanofi (“Sanofi”) is a company
organized under the laws of France with its principal headquarters at 54 rue La Boét»ic, 75008
Paris, France.

7. Upon information and beliel", Defendant Sanofi-Aventis U.S. LLC (“Sanof`i U.S.”)

is a company organized under the laws of the State of Delaware with its principal place of

01;17684358.1
-2-

l

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 3 of 31 Page|D #: 7942

business at 55 Corporate Drive, Bridgewater, New Jersey 08807.

8. Upon information and belief, Defendant Aventisub LLC (“Aventisub”) is a
company organized under the laws of the State of Delaware having its principal place of business
at 3711 Kennett Pike, Suite 200, Greenville, Delaware 19807. Upon information and belief,
Aventisub is the surviving entity from a J urie 2014 merger involving Aventis Pharrnaceuticals
Inc. (see Certiflcate ol` Merger attached as Exhibit l hereto) and has assumed the assets,
liabilities, and/or responsibilities of Aventis Pharmaceuticals Inc. Upon information and belief,
Aventis Pharmaceuticals Inc. was a corporation organized under the laws of the State of
Delaware having a principal place of business at 55 Corporate Drive, Bridgewater, New Jersey
08807. Upon information and belief, the sole member of Aventisub is Aventis Inc., which
operates as a subsidiary of Sanoli. 'l`his complaint refers to Aventisub and Aventis
Pharmaceuticals Inc. collectively as “Aventis.”

9. Upon information and belief, Sanofl U.S. is a Wholly owned subsidiary of
Defendant Sanofi.

10. Upon information and belief, Aventis is an indirect wholly owned subsidiary of
Defendant Sanoli.

ll. This complaint refers to Sanofi, Sanofi U.S., and Aventis collectively as “Sanofl
Group.”

12. Upon information and belief, Defendant Regeneron Pharmaceuticals, lnc.
(“Regeneron”) is a corporation organized under the laws of the State of New York With its
principal place of business at 777 Old Saw Mill River Road, Tarrytown, New York 10591-6707.

JURISDICTION AND VENUE

13. This civil action for patent infringement arises under the patent laws of the United

States, 35 U.S.C. §§ l et seq., and under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et

01;17634353_1
-3-

v ,il'

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 4 of 31 Page|D #: 7943

seq.

14. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§§ 1331, l338(a), 2201, and 2202.

15. This Court has personal jurisdiction over the Defendants at least by virtue of the
fact that Defendants conduct business in the State of Delaware, have availed themselves of the
rights and benefits under Delaware law, and have engaged in substantial and continuous contacts
in the State of Delaware.

16. Upon information and belief, Sanofi is in the business of developing, formulating,
manufacturing, marketing, and selling pharmaceutical drug products, including antibody
products. Upon information and belief, Sanofi, directly or indirectly through its affiliates and
agents, including but not limited to Sanofi U.S. and Aventis, markets and sells pharmaceutical
products throughout the United States and in this judicial district Upon information and belief,
Sanofi has availed itself of this forum by filing suit in the District of Delaware, including, for
example, Sanofi v. Alembic Pharma. Ltd., l:l4-CV-00424-RGA; Sanoji v. Alkem Labs Ltd.,
l:l4-CV-OO292-RGA; Sanofi v. Watson Labs., Inc., l:l4-CV-00265-RGA; Sanofi v. Glenmark
Generics Inc., USA, 1:14-CV-00264-RGA; Sanoj’i v. First Ti`me US Generics LLC, l:l4-CV-
00293-RGA; Sanofi v. Sun Pharma Globa[ FZE, 1:l4-CV-00294-RGA; Sanofz` v. Amneal
Pharma. LLC, l:l4-CV-00875-RGA; and Sanofi v. Unimark Remedies Ltd., l:l4-CV-00876-
RGA.

l7. Upon information and belief, Sanofi U.S. is organized in the State of Delaware.

18. Upon information and belief, Aventisub is organized in the State of Delaware and
has its principal place of business in Delaware.

19. Upon information and belief, Aventisub’s predecessor, Aventis Phar'maceuticals

Inc., previously availed itself of this forum by filing suit in the District of Delaware, including,
01;17634353.1
.4_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 5 of 31 Page|D #: 7944

for example, Aventis Pharmaceuticals Inc, v. Barr Labs, Inc., l:06-CV-00286-GMS. Upon
information and belief, Aventis Pharrnaccuticals Inc. was incorporated in the State of Delaware.

20. Upon information and belief, Sanofi has directed or authorized the infringing
activities of Sanofi U.S. and Aventis such that the infringing conduct by Sanoli U.S. and Aventis
is attributable to Sanofi. Upon information and belief, the Sanofi Group defendants were at all
times relevant the partners, officers, agents, assignees, successors-in-interest, co-conspirators,
principals, alter cgos, or employees of each other or were otherwise responsible for, contributed
to, or participated in the acts of infringement alleged herein, and thereby incurred liability
therefore For exainple, as detailed further in paragraphs 48, 49 and 51, inj€“a, the collaboration
and license agreements between Aventis and Regeneron state that Aventis is a wholly owned
subsidiary of Sanofi, which is a statement that Sanofi exercises dominion and control over
Aventis.

21. Upon information and belief, Regeneron is registered as a foreign corporation to
conduct business in the State of Delaware. Per its registration, Regeneron has a Registered
Office iri the State of Delaware, is in good Standing, and filed an annual report in 2013.

22. Upon information and belief, Regeneron is in the business of manufacturing,
marketing, importing, and selling pharmaceutical drug and biologic products, including antibody
products Upon information and belief, Regeneron, directly or indirectly, including through its
affiliates and agents including Sanofi Group, currently markets and sells pharmaceutical drug
and biologics products throughout the United States and in this judicial district

23. Upon information and belief, Regeneron, directly or indirectly, through its
affiliates and agents including Sanofi Group, intends to market and sell alirocumab throughout
the United States and in this judicial district.

24. Venue is proper iri this District and before this Court pursuant to 28 U.S.C. §§
01;17684358.1
_5-

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 6 of 31 Page|D #: 7945

139l(b), l39l(c), and l400(b).
THE PATENTS-IN-SUIT

25. On October 22, 2013, United States Patent No. 8,563,698 (“the ’698 Patent”)
entitled “Antigen binding proteins to proprotein convertase subtilisin kexin type 9 (PCSK9)”
issued to Amgen as assignee of the named inventors Simon Mark Jackson, Nigel Pelham Clinton
Walker, Derek Evan Piper, Wenyan Shen, Chadwick Terence King, Randal Robert Ketchem,
Christopher Mehlin, and Teresa Arazas Carabeo. A copy of the ’698 Patent is attached as
Exhibit 2.

26. On September 9, 2014, United States Patent No. 8,829,165 (“the ’165 Patent”)
entitled “Antigen binding proteins to proprotein convertase subtilisin kexin type 9 (PCSK9)”
issued to Amgen as assignee of the named inventors Simon Mark Jacksoii, Nigel Pelham Clinton
Walker, Derek Evan Piper, Wenyan Shen, Chadwick Terence King, Randal Robert Ketchem,
Christopher Mehlin, and Teresa Arazas Carabeo.. A copy of the ’165 Patent is attached as
Exhibit 3.

27. On October l4, 2014, United States Patent No. 8,859,741 (“the ’741 Patent”)
entitled “Antigen binding proteins to proprotein convertase subtilisin kexin type 9 (PCSK9)”
issued to Amgen as assignee of the named inventors Simori Mark Jackson, Nigel Pelham Clinton
Walker, Derek Evan Piper, Wenyan Shen, Chadwick Terence King, Randal Robert Ketchem,
Christopher Mehlin, and Teresa Arazas Carabeo. A copy of the ’741 Patent is attached as
Exhibit 4.

28. On October 28, 2014, United States Patent No. 8,871,913 (“the ’913 Patent”)
entitled “Antigen binding proteins to proprotein convertase subtilisin kexin type 9 (PCSK9)”
issued to Amgen as assignee of the named inventors Simon Mark Jacksori, Nigel Pelham Clinton

Walker, Derek Evan Piper, Wenyan Shen, Chadwick Terence King, Randal Robert Ketchem,

01;17684858.1
-6_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 7 of 31 Page|D #: 7946

Christopher Mehlin, and Teresa Arazas Carabeo. A copy of the ’913 Patent is attached as
Exhibit 5.

29. On October 287 2014, United States Patent No. 8,871,914 (“the ’914 Patent”)
entitled “Antigen binding proteins to proprotein convertase subtilisin kexin type 9 (PCSK9)”
issued to Amgen as assignee of the named inventors Simon Mark Jackson, Nigel Pelham Clinton
Walker, Derek Evan Piper, Wenyan Shen, Chadwick Terence King, Randal Robert Ketchem,
Christopher Mehlin, and Teresa Arazas Carabeo. A copy of the ’914 Patent is attached as
Exhibit 6.

30. On November ll, 2014, United States Patent No. 8,883,983 (“the ’983 Patent”)
entitled “Antigen binding proteins to proprotein convertase subtilisin kexin type 9 (PCSK9)”
issued to Amgen as assignee of the named inventors Simon Mark Jackson, Nigel Pelham Clinton
Walker, Derek Evan Piper, Wenyan Shen, Chadwick TerencerKing, Randal Robert Ketchem,
Christopher Mehlin, and Teresa Arazas Carabeo. A copy of the ’983 Patent is attached as
Exhibit 7.

31. On November 18, 2014, United States Patent No. 8,889,834 (“the ’ 834 Patent”)
entitled “Antigen binding proteins to proprotein conveitase subtilisin kexin type 9 (PCSK9)”
issued to Amgen as assignee of the named inventors Simon Mark Jackson, Nigel Pelham Clinton
Walker, Derek Evan Piper, Wenyan Shen, Chadwick Terence King, Randal Robert Ketchem,
Christopher Mehlin, and Teresa Arazas Carabeo. A copy of the ’834 Patent is attached as
Exhibit 8.

32. The ’698, ’165, ’741, ’913, ’9]4, ’983, and ’834 Patents (collectively the
“patents-in-suit”) have been owned by Amgen at all times, are fully maintained,and are valid
and enforceable

33. AML is an exclusive licensee of the patents-in-suit with the right to import and
01;17684858.1
-7_

i ' : ` l

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 8 of 31 Page|D #: 7947

manufacture RepathaTM (evolocumab) drug product in the United States.
34. Amgen USA is an exclusive licensee of the patents-in-suit with the right to sell
RepathaTM (evolocumab) drug product in the United States for use iii the United States.

BACKGROUND

A. DYsLiPn)EMiA AND AMGEN’s ANTi-PCSK9 ANTiBoDY PRODUCT FoR
TREATMENT oF HlGH CHoLESTERoL: EvoLoCUMAB

35. Dyslipidemia is a condition that contributes to the development of atherosclerosis.
Dyslipidemia is marked by elevated blood plasma levels of low-density lipoprotein cholesterol
(“LDL-C” or “bad cholesterol”), triglycerides, or both, or a low high-density lipoprotein level.
Some dyslipidemia patients carry a genetic risk for this condition. There are approximately 300
million cases of dyslipidemia in the United States, Japan, and Westem Europe. More than 71
million American adults have high LDL-C, which is recognized as a major risk factor for
cardiovascular disease.

36. For the last two decades, a primary treatment for dyslipidemia has included
administration of a class of drugs known as statins. There has remained, however, an unmet
medical need for improved dyslipidemia therapy because a large residual risk remains for the
development of atherosclerotic cardiovascular disease iri patients taking statins. Moreover, a
significant percentage of patients taking statins experience intolerable or dose-limiting side
effects that preclude those patients from reaching their cholesterol-lowering goals.

37. More than nine years ago, Amgen embarked on a, research path that led to the
innovative work behind the design and elucidation of fully human monoclonal antibodies to treat
dyslipidemia

38. This new class of potential therapeutic targets proprotein convertase

subtilisin/kexin type 9 (“PCSK9”). PCSK9 is a protein found iri the human body that reduces the

01:17684858.1

l

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 9 of 31 Page|D #: 7948

liver’s ability to remove LDL-C from the blood. PCSK9 does this by targeting for degradation a
protein found on the surface of the liver called the low-density lipoprotein receptor (“LDL-
receptor” or “LDL-R”). When LDL-receptors are degraded, they are no longer available to
remove LD L-C from the blood. By contrast, when PCSK9 is removed, there is an increase in the
number of LDL-receptors available to remove LDL-C from the blood, thus lowering the “bad
cholesterol.”

39. Amgen’s investigational therapeutic antibody prevents PCSK9 from productiver
interacting with LDL-receptors ori the liver surface The number of LDL-receptors on the
surface of the liver thereby increases And with that increase, improved LDL-C removal from
the blood can be achieved

40. The nonproprietary name for Amgen’s antibody product is “evolocuma .”
Clinical evaluations evidencing LDL-C lowering have been completed with respect to Several
patient populations, including those who cannot achieve LDL-C lowering objectives with statins
alone, those whose cannot tolerate statins, and those with genetic diseases Such as familial
hypercholesterolemia. F or example, one clinical study showed that the addition of evolocumab
to moderate or high doses of statins lowers LDl/-C levels over administration of statins alone.
Another study showed that the mean LDL-C in patients with high cholesterol who cannot
tolerate effective doses of statins was significantly reduced with evolocumab when compared to
statin. Yet another study showed that patients with homozygous familial hypercholesterolemia, a
rare and serious genetic disorder characterized by severely elevated LDL-C at an early age,
showed clinically meaningliil and statistically significant reduction in l.DI,-C with evolocumab
iri combination with a stable dose of statin therapy or other lipid-lowering medication, as
compared to placebo.

41. Through additional on-going clinical testing, Amgen is further developing
01;17634853.1
-9-

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 10 of 31 Page|D #: 7949

evolocumab as a potential treatment that, when used in conjunction with other treatments for
dyslipidemia, will be well tolerated and decreases the risk of cardiovascular death, myocardial
infarction, hospitalization for unstable angina, stroke, or coronary revascularization in subjects
with clinically evident cardiovascular disease.

B. AMGEN’s ON-GoiNG CoMMITMENT To SUPPLYING THE U.S. PATIENT
PoPuLATioN wiTH RF.PATHATM (EvoLoCUMAB)

42. A company seeking to market a biological product for human therapeutic use in
the United States must first obtain a license from the U.S. Food and Drug Administration
(“FDA”), typically through the filing of a Biologics License Application (“BLA”). See 42
U.S.C. § 262. The BLA, among other things, comprises technical data on the composition of the
biologic, the means for its manufacturing, clinical trial results to establish the safety and efficacy
of the biologic, and labeling for use of the biologic for which approval is requested. See 2l
C.F.R. §§ 601 et seq.

43. On August 28, 20147 Amgen submitted a Biologics License Application to the
FDA seeking approval to market evolocumab for the treatment of high cholesterol. According to
FDA performance goals, the standard time for FDA to review and act on new BLA submissions
is ten months from FDA acceptance of the BLA for review.

44. On August 27, 2015, the FDA approved Amgen’s BLA authorizing Amgen to
market RepathaTM, the trade name for evolocumab, as an adjunct to diet and maximally tolerated
statin therapy for the treatment of adults with heterozygous familial hypercholesterolemia
(HeFH) or clinical atherosclerotic cardiovascular disease (ASCVD), who require additional
lowering of LDL-C; and as an adjunct to diet and other LDL-lowering therapies for the treatment
of patients with homozygous familial hypercholcsterolemia (HoFH), who require additional

lowering of LDL-C.

01117684858.1
-10-

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 11 of 31 Page|D #: 7950

45. Amgen’s regulatory submission for evolocumab in the United States reflects the
achievement of an important rriilestone in the clinical development of this antibody product
candidate Indeed, the evolocumab BI.A contains data from approximately 6,800 patients,
including more than 4,500 patients with high cholesterol across ten Phase 3 clinical trials Those
Phase 3 studies evaluated the safety and efficacy of evolocumab in patients with elevated
cholesterol on statins with or without other lipid-lowering therapies; patients who cannot tolerate
statins; patients with heterozygous familial hypercholesterolemia', and patients with homozygous
familial hypercliolesterolemia, a rare and serious genetic disorder.

46. Amgen leverages its biologics manufacturing expertise to strive for solutions that
improve health outcomes and dramatically improve people’s lives. This circumstance is
particularly true iii the case of evolocumab. Amgen has made significant investments in its
manufacturing facilities for evolocumab and is prepared and equipped to supplyi.cvolocumab to
meet the US marketplace demand for therapeutic monoclonal antibodies to PCSK9

47. In addition, Amgen has made meaningful preparations to commercialize
evolocumab once it is approved, including the development of an in-house marketing team for
evolocumab and hiring a dedicated sales force Finally, Amgen is continuing its clinical
development program for evolocumab with the goal of ultimately reaching other U.S. patients
suffering from cardiovascular disease who might benefit from evolocumab’s cholesterol-
lowering capabilities

C. DEFENDANTS’ SToCi<PILING, MANUFACTURING, UsE, IMPoRTATIoN AND/ok

CoMMERCiAL OFFERS To SELL AND SALE iN THE UNITEi) STATES HAvE
CREATED A REAL AND IMMEi)lArE CoNTRovERsY BETWEEN DEFENI)ANTS AND
AMGEN

1. Sanofi Group and Regeneron’s Manufacturing, Use, Sale, Offers to

Sell, and/or Importation of a Competing Anti-PCSK9 Antibody
Known as Alirocumab in the United States

01;17684358.1
_1]_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 12 of 31 Page|D #: 7951

48. Upon information and belief, since at least November 2007, Sanoti Group and
Regeneron have collaborated on the research and development of antibody product candidates
for commercial sale in the United States upon FDA licensure That collaboration was initially
governed by a License and Collaboration Agreement executed on November 28, 2007, by
Regeneron on the one liand, and Aventis Pharmaceuticals Inc. and a third entity, Sanofi
Amérique du Nord, on the other. Upon information and belief, Sanoti Amérique du Nord is a
partnership organized under the laws of France that Was and is responsible for causing
Regeneron to be paid whatever monies are owed to Regeneron under the terms of this agreement
Concurrently with the execution and delivery of that agreement on November 28, 2007,
Regeneron and Aventis Pharmaceuticals Inc. also entered into a Discovery and Preclinical
Development Agreement. Pursuant to these agreements and upon information and belief,
chcneron uses its Vcloclmmune® technology and related technologies to discover product
candidates that Sanofi Group may elect to advance into further development

49. Upon information and belief, on November 10, 2009, Regeneron and Aventis
Pharmaceuticals executed an “Arnended and Restated License and Collaboration Agreement”
setting forth amended terms under which Sanofi Group and Regeneron would jointly develop
antibody product candidates Also upon information and belief, Regeneron, Aventis
Pharrnaceuticals lnc., and Sanofi Amérique du Nord concurrently executed an “Arnended and
Restated Discovery and Preclinical Development Agreement” on November 10, 2009.

50. This complaint collectively refers to the 2007 and 2009 agreements referenced in
paragraphs 48 and 49 above as the “2007 and 2009 Agreements”

51. Upon information and belief, the 2007 and 2009 Agreements state that Aventis
Pharmaceuticals Inc. (which the agreements abbreviate as “Sanofi”) is an indirect wholly owned

subsidiary of Sanoli.
01:17684853.1
-12-

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 13 of 31 Page|D #: 7952

52. Upon information and belief, subsequent to Amgen beginning its research efforts
that ultimately led to evolocumab, Sanofi Group and Regeneron initiated development of a fully
human monoclonal antibody product candidate against PCSK9 called “alirocumab” (also called
“REGN727” and “SAR236553”) as a co-developed drug candidate under the 2007 and 2009
Agreements

53. Upon information and belief, alirocumab is a monoclonal antibody to PCSK9 that
is reported to block the interaction of PCSK9 with LDL receptors and increase the recycling of
LDL receptors and reduce LDL cholesterol levels in the blood.

54. Upon information and belief, alirocumab is a monoclonal antibody as claimed in
Amgen’s ’698, ’165, ’741, ’913, ’914, ’983, and ’834 Patents

2. Defendants’ Manufacture and Expedited FDA Approval of Praluent®
(Alirocumab) for Commercial Sale Within the United States

55. Upon information and belief, Sanofi Group and Regeneron have pursued the
clinical development of alirocumab with the goal of launching it for sale in the United States and
worldwide marketplace F or example, as early as July 20, 2012, Sanofi Group announced the
creation of a dedicated PCSK9 Development and Launch Unit in tandem with beginning its
Phase 3 clinical trial program.

56. Defendants hailed the creation of the dedicated PCSK9 Development and Launch
Unit as underscoring Sanofi’s commitment to develop alirocumab.

57. Upon information and belief, On June 24, 2014, Sanofi filed with the U.S.
Trademark Off`rce an application for its intent to use the mark “Praluent” in commerce in
connection with a cardiovascular pharmaceutical product or service Upon information and
belief, Defendants intended at that time to market alirocumab to doctors and patients under the

brand name “Praluent.”

01217684858.1

1 ’ |

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 14 of 31 Page|D #: 7953

58. Upon information and belief, Sanofi Group and Regeneron initially intended to
seek regulatory approval for alirocumab in 2015 in the United States and Europc upon receiving
positive clinical trial data during 2014. But on July 30, 2014, the companies announced that
regulatory submissions were expected in the U.S. and EU by the end of 2014. Submission of a
BLA for approval by FDA was a necessary prerequisite to offering alirocumab for sale in the
United States (See paragraph 42, supra.)

59. Also on July 30, 2014, Sanofi Group and cheneron announced they had taken
the unusual step of jointly purchasing for $67.5 million a special FDA priority review voucher
from BioMarin Pharmaceuticals Inc., a third party that had obtained the voucher under an FDA
program intended to encourage the development of treatments for rare pediatric diseases
Defendants further announced their intent to use that voucher to expedite Agency consideration
of the BLA for alirocumab. According to Sanofi Group and Regcneron, use of this priority
review voucher would require the FDA to respond to the BLA submission for alirocumab within
six months from the filing date instead of the standard ten-month review.

60. Upon information and belief, Sanofi Group and Regeneron announced on August
31, 2014 that the companies had successfully concluded ten Phase 3 clinical trials on alirocumab
encompassing more than 5,000 patients

61. Upon infomiation and belief, Sanofi Group and Regeneron completed all of the
Phase 3 clinical trials that the companies believed they needed for a BLA submission covering
alirocumab. For example, on September 3, 2014, Regeneron’s Fourider, President, and Chief
Executive Officer, Dr. Len Schleifer, informed the investing public:

Basically, alirocumab, we have completed the basic Phase 3 program that we will

need, we believe, for filing, which we will file before the end of the year. We

expect to use our recently-acquired voucher to get us a priority review.

Therefore, if all goes well, sometime the second half of next year we might be
able to launch the product in the United States

01117684858.1
-14_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 15 of 31 Page|D #: 7954

62. Upon information and belief, Sanofi Executive Vice President and Chief
Operating Officer Jerome Contamine informed the investing public that:

We plan to file both in the US and the EU by the end of 2014. We have also

acquired a voucher which gives us priority review in the US, so we think that we

really can accelerate to the maximum possible not only the filing but hopefully
the approval to be ready to launch somewhere in 2015.

63. Upon information and belief, Sanofi Group and Regeneron were preparing to
launch a1irocumab for commercial sale in the United States marketplace with the intention of
doing so by the second half of 201 5.

64.- Upon information and belief, Regeneron’s Senior Vice President of Finance and
Chief Financial Officer, Bob Landry, informed the investing public on September 8, 2014 that
“the launch of alirocumab [is] corning up.”

65. 'Upon information and belief, prior to the October 17, 2014 filing date of the
original complaint in Case No. 1:14-cv-1317, Defendants’ prepared to launch alirocumab in the
United States at least by manufacturing alirocumab product for commercial sale in the United
States

66. Upon information and belief, Sanofi Executive Vice President and Chief
Operating Officer Mr. Contamine informed the investing public on September 18, 2014, that
“[w]e are building inventory just now so that we can take care of a few hundred thousand
[patients] in the first two years” after launch.

67. Mr. Contamine also informed the investing public on September 18, 2014, that
Sanofi Was readying a U.S.-based salest`orce to sell and offer to sell alirocumab into the domestic
marketplace He stated that Sanoli “can leverage our diabetes salesforce” and to “[k]eep in mind
that, in the US, we have kept the salesforce intact.”

68. Upori information and belief, and as stated in regulatory filings and iri statements

01:17684858.1
_15_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 16 of 31 Page|D #: 7955

to the investing public, Sanofi Group and Regeneron assert that Amgen’s evolocumab is a
competitor molecule to its clinical candidate to PCSK9, z'.e. , alirocumab.

69. Further7 at least as of the filing date of the original complaints in Case No. 1:14-
cv-1317, l:l4-cv-01349, 1:l4-cv-0139, and l:l4-cv-014l4, Regeneron and its development and
commercialization partner Sanofi Group had made actual and real preparations to file a Biologics
License Application with FDA seeking approval to market alirocumab in the United States
utilizing its priority review voucher, which provided for FDA review on an accelerated basis
Upon information and belief, FDA approval of that Biologics License Application would permit
Defendants to further infringe Amgen’s patents-in-suit by making, using, offering to sell, and
selling alirocumab within the United States, and by importing alirocumab into the United States,
before the expiration of the patents-in-suit. Upon FDA approval, the infringing alirocumab
product would compete withAmgen’s evolocumab in the domestic marketplace

70.- Upon information and belief, Sanofi Group and Regeneron submitted Biologics
License Application No. 125559 to the FDA on November 24, 2014, seeking approval to market
alirocumab in the United States Upon information and belief, when making that submission, the
companies used the 867.5 million priority review voucher to reduce the FDA review time and
thereby even further accelerate actual entry of alirocumab to the domestic marketplace

71. On January 26, 2015, Sanofi Group and Regeneron, announced that the FDA
accepted a priority review request of Praluent® (alirocumab), requiring the FDA to respond to the
BLA submission for alirocumab within six months from the filing date instead of the standard
ten-month review.

72. On July 24, 2015, the FDA approved the Sanofi Group and Regeneron BLA,
authorizing Defendants to market Praluent® indicated as an adjunct to diet and maximally

tolerated statin therapy for the treatment of adults with heterozygous familial
01;17634358.1
_16-

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 17 of 31 Page|D #: 7956

hypercholesterolemia or clinical atherosclerotic cardiovascular disease who require additional
lowering of LDL-cholesterol (LDL-C).

73. According to a complaint filed by Sanofi-Aventis U.S. LLC and Regeneron
Pharmaceuticals, Inc. against Genentech, Inc. and City of Hope on July 27, 2015, Case No. 2:15-
cv-05685 (C.D. Cal.) (ECF No. l at para. 15): “On July 25, 2015, Plaintiffs began to
commercialize Praluent® in the United States by offering Praluent® for sale, selling Praluent®
and filling orders for Praluent .”

74. Upon information and belief, Defendants had actual knowledge of the ’698 and
’165 Patents prior to the filing of the original complaint iri Case No. 1:14-cv-l3 l 7. For example,
iri March 2014, after the ’698 Patent issued, Regeneron filed an Information Disclosure
Statement with the United States Patent and Trademark Office that listed Amgen’s Patent
Publication No. US2009/032620~2, which ultimately gave rise to the issued ’698 and ’165
Patents. See also, e.g., REGN01584066, REGN00103783, REGN02032800, REGN01552678,
R.EGN00397299, REGN01558717, REGN01558718, SAN003278719, REGN01519341,
REGN01552724, REGN01552725. Despite the objective likelihood that alirocumab infringes
one or more valid and enforceable claims of the ’698 and ’165 Patent, Defendants have engaged
iri deliberate and/or objectively reckless acts of infringement by, for example, “building
inventory” of infringing product for commercial sale within the United States as pleaded above

75. Moreover, since at least the filing of the complaints in this consolidated action
asserting the patents-in-suit, and aiier Defendants received Amgen’s initial infringement
contentions on April 9, 2015, and opening brief on claim construction on July 10, 2015,
Defendants have continued to stockpile inventory of infringing product intended for commercial
sale within the United States and, starting on or about July 25, 2015, have engaged in further

infringing conduct by offering Praluent® for sale, selling Praluent®, and filling orders for
01;17684858.1
-]7-

l

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 18 of 31 Page|D #: 7957

Praluent® in the United States, despite an objectively high likelihood that they are infringing orie
or more valid and enforceable claims of the patents-in suit.

76. In sum, Regeneron and its development and commercialization partner Sanofi
Group have manufactured, used, offered to sell, or Sold within the United States or imported into
the United States, and continue to manufacture, use, offer to sell, or sell within the United States
or import into the United States, the alirocumab antibody drug product, Praluent®, which
infringes Amgen’s patents-in-suit prior to their expiration.

77. Defendants’ infringing acts as described herein have substantially and irreparably
harmed and will continue to substantially and irreparably harm Amgen.

FIRST CAUSE OF ACTION
(Infringement of the ’698 Patent)

78. Amgen realleges and incorporates by reference the allegations contained in
paragraphs l - 77.

79. On information and belief, Defendants have infringed the ’698 Patent, pursuant to
35 U.S.C. § 27l(a), (b), or (c) by engaging in the commercial manufacture use, offer to sell,
sale, or importation of alirocumab prior to the expiration of the ’698 Patent.

80. Defendants’ infringement has damaged Amgen in an amount to be determined at
trial and have caused and will continue to cause Amgen substantial irreparable injury for which it
has no adequate remedy at law.

81. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from their continuing infringement of the ’698 Patent.

82. Upon information and belief, Defendants have had actual knowledge of the ’698
Patent prior to the filing of this complaint After having this lmowledge, Defendants began to

commercialize Praluent® in the United States by offering Praluent® for salc, selling Praluent®,

01;17634358.1
_18_

y ,. _ . .|

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 19 of 31 Page|D #: 7958

and filling orders for Praluent®. Defendants’ acts of infringement have been deliberate, willful,
and in objectively reckless disregard of one or more valid and enforceable patent claims of the
’698 Patent

83. This case is exceptional, and Amgen is entitled to an award of attorneys’ fees
under 35 U.s_C. § 285.

SECONI) CAUSE OF ACTION
(Infringement of the ’165 Patent)

84. Amgen realleges and incorporates by reference tlie allegations contained in
paragraphs l ~ 77.

85. On information and belief, Defendants have infringed the ’165 Patent, pursuant to
35 U.S.C. § 27l(a), (b), or (c) by engaging in the commercial manufacture, use, offer to sell,
sale, or importation of alirocumab prior to the expiration of the ’ 165 Patent

86. Defendants’ infringement has damaged Amgen in an amount to be determined at
trial and have caused and will continue to cause Amgen substantial irreparable injury for which it
has no adequate remedy at law.

87. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from their continuing infringement of the ’ 165 Patent

88. Upon information and belief, Defendants have had actual knowledge of the ’165
Patent prior to the filing of this complaint After having this knowledge, Defendants began to
commercialize Praluent® in the United States by offering Praluent® for sale, selling Praluent®,
and filling orders for Praluent®. Defendants’ acts of infringement have been deliberate, willful,
and in objectively reckless disregard of one or more valid and enforceable patent claims of the
’ 165 Patent

89. This case is exeeptional, and Amgen is entitled to an award of attomeys’ fees

01;17634853.1
_]9_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 20 of 31 Page|D #: 7959

under 35 U.S.C. § 285.

TH]RD CAUSE OF ACTION
(Infringement of the ’741 Patent)

90. Amgen realleges and incorporates by reference the allegations contained in
paragraphs l - 77.

91. On information and belief, Defendants have infringed the ’741 Patent, pursuant to
35 U.S.C. § 27l(a), (b), or (c) by engaging in the commercial manufacture use, offer to sell,
sale, or importation of alirocumab prior to the expiration of the ’741 Patent

92. Defendants’ infringement has damaged Amgen in an amount to be determined at
trial and have caused and will continue to cause Amgen substantial irreparable injury for which it
has no adequate remedy at law.

93. Amgen will be substantially and irreparably banned if Defendants are not
enjoined from their continuing infringement of the ’741 Patent

94. Since at least the filing of the Complaint in Case No. l:l4-CV-01317 SLR,
Defendants have been aware of the existence of the ’741 patent, and despite such knowledge,
Defendants have engaged and continue to engage in acts of infringement by building inventory
of alirocumab for commercial sale within the United States ln addition, on or about July 25,
2015, Defendants commercially launched Praluent® at risk in the United States by effering
Praluent® for sale, selling Praluent®, and filling orders for Praluent®, without regard to the ’741
patent Defendants’ acts of infringement have been deliberate, willful, and iri objectively
reckless disregard of one or more valid and enforceable patent claims of the ’741 Patent

95. This case is exceptional, and Amgen is entitled to an award of attomeys’ fees
under 35 U.S.C. § 285.

FOURTH CAUSE OF ACTION
(Infringement of the ’913 Patent)

01:17634353_1
-2()-

' l ` ' | l

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 21 of 31 Page|D #: 7960

96. Amgen realleges and incorporates by reference the allegations contained in
paragraphs l - 77.

97. On information and belief, Defendants have infringed the ’913 Patent, pursuant to
35 U.S.C. § 27l(a), (b), or (c) by engaging in the commercial manufacture use, offer to sell,
sale, or importation of alirocumab prior to the expiration of the ’913 Patent

98. Defendants’ infringement has damaged Amgen in an amount to be determined at
trial and have caused and will continue to cause Amgen substantial irreparable injury for which it
has no adequate remedy at law.

99. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from their continuing infringement of the ’91 3 Patent

100. Since at least the filing of the Complaint in Case No. l:l4-CV-01349 SLR,
Defendants have been aware of the existence of the ’913 patent, and despite such knowledge
Defendants have engaged and continue to engage in acts of infringement by building inventory
of alirocumab for commercial sale within the United States In addition, on or about July 25,
2015, Defendants commercially launched Praluent® at risk in the United States by offering
Praluent® for sale, selling Praluent®, and filling orders for Praluent®, without regard to the ’9]3
patent Defendants’ acts of infringement have been deliberate, willful, and iii objectively
reckless disregard of one or more valid and enforceable patent claims of the ’913 Patent

101. This case is exceptional, and Amgen is entitled to an award of attomeys’ fees
under 35 U.S.C. §285.

FIFTH CAUSE OF ACTION
(Infringement of the ’914 Patent)

102. Amgen realleges and incorporates by reference the allegations contained in

paragraphs l - 77.
01;17684358.1
_21_

l

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 22 of 31 Page|D #: 7961

103. On information and belief, Defendants have infringed the ’914 Patent, pursuant to
35 U.S.C. § 27l(a), (b), or (c) by engaging in the commercial manufacture, use, offer to sell,
sale, or importation of alirocumab prior to the expiration of the ’914 Patent

104. Defendants’ infringement has damaged Amgen in an amount to be determined at
trial and have caused and will continue to cause Amgen substantial irreparable injury for which it
has no adequate remedy at law.

105. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from their continuing infringement of the ’914 Patent

106. Since at least the filing of the Complaint in Case No. l:l4-CV~01349 SLR,
Defendants have been aware of the existence of the ’914 patent, and despite such kriowledge,
Defendants have engaged and continue to engage in acts of infringement by building inventory
of alirocumab for commercial sale within the United States In addition, on or about July 25,
2015, Defendants commercially launched Praluent® at risk in the United States by offering
Praluent® for sale, selling Praluent®, and filling orders for Praluent®, without regard to the ’914
patent Defendants’ acts of infringement have been deliberate, willful, and in objectively
reckless disregard of one or more valid and enforceable patent claims of the ’914 Patent

107. This case is exceptional, and Amgen is entitled to an award of attorneys’ fees
under 35 U.S.C. § 285.

SIXTH CAUSE OF ACTION
(Infringement of the ’983 Patent)

108. Amgen realleges and incorporates by reference the allegations contained in
paragraphs 1 - 77.
109. On information and belief, Defendants have infringed the ’983 Patent, pursuant to

35 U.S.C. § 271(a), (b), or (c) by engaging in the commercial manufacture use, offer to sell,

01;17634858.1
-22_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 23 of 31 Page|D #: 7962

sale, or importation of alirocumab prior to the expiration of the ’983 Patent

110. Defendants’ infringement has damaged Amgen in an amount to be determined at
trial and have caused and will continue to cause Amgen substantial irreparable injury for which it
has no adequate remedy at law.

lll. Amgen will be substantially and irreparably harmed if Defendants arc not
enjoined from their continuing infringement of the ’983 Patent

112. Since at least the filing of thc Complaint in Case No. l:l4-CV-01393 SLR,
Defendants have been aware of the existence of the ’983 patent, and despite such knowledge,
Defendants have engaged and continue to engage in acts of infringement by building inventory
of alirocumab for commercial sale within the United States In addition, on or about July 25,
2015, Defendants commercially launched Praluent® at risk iri the United States by offering
Praluent® for sale, selling Praluent®, and filling orders for Praluent®, without regard to the ’983
patent Defendants’ acts of infringement have been deliberate, willful, and in objectively
reckless disregard of one or more valid and enforceable patent claims of the ’983 Patent

113. This case is exceptional, and Amgen is entitled to an award of attorneys’ fees
under 35 U.S.C. § 285.

SEVENTH CAUSE OF ACTION
(Infringement of the ’834 Patent)

114. Amgen realleges and incorporates by reference the allegations contained in
paragraphs l - 77.

115. On information and belief, Defendants have infringed the ’834 Patent, pursuant to
35 'U.S.C. § 27l(a), (b), or (c) by engaging in the commercial manufacture use, offer to sell,
sale, or importation of alirocumab prior to the expiration of the ’834 Patent

116. Defendants’ infringement has damaged Amgen in an amount to be determined at

01;17634858.1
_23_

l "|

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 24 of 31 Page|D #: 7963

trial and have caused and will continue to cause Amgen substantial irreparable injury for which it
has no adequate remedy at law.

117. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from their continuing infringement of the ’834 Patent

118. Since at least the filing of the Complaint in Case No. l:14-CV-014l4 SLR,
Defendants have been aware of the existence of the ’834 patent, and despite such knowledge
Defendants have engaged and continue to engage in acts of infringement by building inventory
of alirocumab for commercial sale within the United States lri addition, on or about July 25,
2015, Defendants commercially launched Praluent® at risk in the United States by offering
Praluent® for sale, selling Praluent®, and filling orders for Praluent®, without regard to the ’834
patent. .Defendants’ acts of infringement have been deliberate willt`ul, and in objectively reckless
disregard of one or more valid and enforceable patent claims of the ’834 Patent

119. This case is exceptional, and Amgen is entitled to an award of attorneys’ fees
under 35 U.S.C. § 285.

EICHTH CAUSE OF ACTION
(Declaratory Judgment of Infringement of the ’698 Patent)

120. Amgen realleges and incorporates by reference the allegations contained in
paragraphs 1 - 77.

.121. On information and belief, Defendants’ contemplated imminent submission of a
Biologics License Application to FDA seeking approval to market alirocumab in the United
States on an accelerated basis coupled with Defendants’ preparations to actually launch
alirocumab for sale to the domestic marketplace upon receiving that approval, created an actual,
immediate and real controversy within the Declaratory Judgment Act that Defendants will

directly or indirectly infringe valid and enforceable claims of the ’698 Patent prior to its

01;17634858.1
_24_

` ,_ .. l 7 . `

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 25 of 31 Page|D #: 7964

expii'ation.

122. A judicial declaration of infringement is necessary and appropriate to resolve this
controversy

123. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from infringing the ’698 Patent

124. Amgen has no adequate remedy at law.

125. This case is exceptional, and Amgen is entitled to an award of attorneys’ fees
under 35 U.S.C. § 285.

NINTH CAUSE OF ACTION
(Declaratory Judgment of lnfringement of the ’165 Patent)

126. Amgen realleges and incorporates by reference the allegations contained in
paragraphs l - 77.

1'27. On information and belief, Defendants’ contemplated imminent submission of a
Biologics License Application to FDA seeking approval to market alirocumab in the United
States on an accelerated basis, coupled with Defendants’ preparations to actually launch
alirocumab for sale to tlie domestic marketplace upon receiving that approval, created an actual,
immediate and real controversy within the Declaratory Judgment Act that Defendants will
directly or indirectly infringe valid and enforceable claims of the ’165 Patent prior to its
expiration.

128. A judicial declaration of infringement is necessary and appropriate to resolve this
controversy.

129, Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from infringing the ’ 165 Patent

130. Amgen has no adequate remedy at law.

01;17634358.1
-25-

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 26 of 31 Page|D #: 7965

131. This case is exceptional, and Amgen is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

TEN'I`H CAUSE OF ACTION
(Declaratory Judgment of Infringement of the ’741 Patent)

132. Amgen realleges and incorporates by reference the allegations contained in
paragraphs 1 - 77.

133. On information and belief, Defendants’ contemplated imminent submission of a
Biologics License Application to FDA seeking approval to market alirocumab in the United
States on an accelerated basis, coupled with Defendants’ preparations to actually launch
alirocumab for sale to the domestic marketplace upon receiving that approval, created an actual,
immediate and real controversy within the Declaratory Judgment Act that Defendants will
directly or indirectly infringe valid and enforceable claims of the ’741 Patent prior to its
expiration

134. A judicial declaration of infringement is necessary and appropriate to resolve this
controversy

135. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from infringing the ’741 Patent

136. Amgen has no adequate remedy at law.

137. This case is exceptional, and Plaintiff is entitled to an award of attorneys’ fees
under 35 U.S.C. § 285.

ELEVENTH CAUSE OF ACTION
(Declaratory Judgment of Infringement of the ’913 Patent)

138. Amgen realleges and incorporates by reference the allegations contained in
paragraphs 1 - 77.

139. On information and belief, Defendants’ contemplated imminent submission of a
01;17634358.1
-26_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 27 of 31 Page|D #: 7966

Biologics License Application to FDA seeking approval to market alirocumab in the United
States on an accelerated basis, coupled with Defendants’ preparations to actually launch
alirocumab for sale to the domestic marketplace upon receiving that approval, created an actual,
immediate and real controversy within the Declaratory Judgment Act that Defendants will
directly or indirectly infringe valid and enforceable claims of the ’913 Patent prior to its
expiration

140. A judicial declaration of infringement is necessary and appropriate to resolve this
controversy.

141. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from infringing the ’913 Patent

142. Amgen has no adequate remedy at law.

143. This case -is exceptional, and Amgen is entitled to an award of attorneys’ fees
under 35 U.S.C. § 285.

TWELFTH CAUSE OF ACTION
(Declaratory Judgment of Infringement of the ’914 Patent)

144. Amgen realleges and incorporates by reference the allegations contained in
paragraphs l - 77.

145. On information and belief, Defendants’ contemplated imminent submission of a
Biologics License Application to FDA seeking approval to market alirocumab in the United
States on an accelerated basis, coupled with Defendants’ preparations to actually launch
alirocumab for sale to the domestic marketplace upon receiving that approval, created an actual,
immediate and real controversy within the Declaratory Judgment Act that Defendants will
directly or indirectly infringe valid and enforceable claims of the ’914 Patent prior to its

expiration.

01;17684858.1
_27-

l 1 ` '

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 28 of 31 Page|D #: 7967

146. A judicial declaration of infringement is necessary and appropriate to resolve this
controversy.

147. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from infringing the ’914 Patent

148. Amgen has no adequate remedy at law.

l49. This case is exceptional, and Amgen is entitled to an award of attomeys’ fees
under 35 U.S.C. § 285.

THIRTEENTH CAUSE OF ACTION
(Declaratory Judgment of Infringement of the ’983 Patent)

150. Amgen realleges and incorporates by reference the allegations contained in
paragraphs 1 - 77.

151. On information and belief, Defendants’ contemplated imminent submission of a
Biologics License Application to FDA seeking approval to market alirocumab in the United
States on an accelerated basis, coupled with Defendants’ preparations to actually launch
alirocumab for sale to the domestic marketplace upon receiving that approval, created an actual,
immediate and real controversy within the Declaratory Judgment Act that Defendants will
directly or indirectly infringe valid and enforceable claims of the ’983 Patent prior ,to its
expiration.

152. A judicial declaration of infringement is necessary and appropriate to resolve this
controversy.

153. Amgen will be substantially and irreparably hanned if Defendants are not
enjoined from infringing the ’983 Patent

154. Amgen has no adequate remedy at law.

155. This case is exceptional, and Amgen is entitled to an award of attorneys’ fees

01;17634853.1
_28_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 29 of 31 Page|D #: 7968

under 35 U.S.C. § 285.

FOURTEEN'I`H CAUSE OF ACTION
(Declaratory Judgment of Infringement of the ’834 Patent)

156. Amgen realleges and incorporates by reference the allegations contained in
paragraphs l - 77.

157. On information and belief, Defendants’ contemplated imminent submission of a
Biologics License Application to FDA seeking approval to market alirocumab in the United
States on an accelerated basis, coupled with Defendants’ preparations to actually launch
alirocumab for sale to the domestic marketplace upon receiving that approval, created an actual,
immediate and real controversy within the Declaratory Judgment Act that Defendants will
directly or indirectly infringe valid and enforceable claims of the ’834 Patent prior to its
expiration.

158. Ajudicial declaratioii»of infringement is necessary and appropriate to resolve this
controversy.

159. Amgen will be substantially and irreparably harmed if Defendants are not
enjoined from infringing the ’834 Patent

160. Amgen has no adequate remedy at law.

161. This case is exceptional, and Amgen is entitled to an award of attomeys’ fees
under 35 U.S.C. § 285.

PRAYER FOR RELIEF

WHEREFORE, Amgen prays for judgment against Defendants Sanofi; Sanofi-Aventis
U.S. LLC; Aventisub LLC, fomierly doing business as Aventis Pharmaceuticals Inc.; and
Regeneron Pharmaceuticals, Inc., and respectfully requests the following relief:

l. Ajudgment that the ’698, ’1657 ’741, ’913, ’914, ’983, and ’834 Patents have

01;17684858.1
-29-

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 30 of 31 Page|D #: 7969

been infringed and will be infringed by Defendants;

2. A permanent injunction prohibiting each Defendant, its ochers, agents, servants,
employees, and those persons acting in active concert or participation with all or any of them
from manufacturing, using, offering to sell, or selling alirocumab within the United States, or
importing alirocumab into the United States, prior to the expiration of the ’698, ’165, ’741, ’913,
’914, ’983, and/or ’834 Patents pursuant to 35 U.S.C. § 283;

3. 'l`o the extent that Defendants have or will commercially manufacture, use, offer
to sell, or sell alirocumab within the United States, or import alirocumab into the United States,
prior to the expiration of any ofthe ’698, ’165, 7741, ’913, ’914, ’983, and/or ’834 Patents,
including any extensions, a judgment awarding Plaintiff monetary relief together with interest;

4. Ajudgment that this is an exceptional case and that Plaintiff be awarded its
attomeys’ fees incurred in this action pursuant to 35 U.S.C. § 285;

5. An award of treble damages for all claims for which treble damages are

authorized, and otherwise for the maximum enhancement allowed by law;

6. Costs and expenses in this action; and
7. Such other and further relief as the Court deems just and appropriate
JURY DEMAND

Amgen hereby demands a jury trial on all issues appropriately triable by a jury.

01;17684858.1

_30_

Case 1:14-cV-01317-RGA Document 184 Filed 01/29/16 Page 31 of 31 Page|D #: 7970

YOUNG CONAWAY STARGATT & TAYLOR, LLP

/s/ James L. Higgins

 

Melanie K. Sharp (No. 2501)
James L. Higgins (No. 5021)

1000 North King Street
OF COUNSEL: Wilmington, DE 19801

(302) 571-6681
William G. Gaede, III msha_rp@ycst.com

Eric W. IIagen

Terry W. Ahearn

Bhanu K. Sadasivan Altorneysfor Amgen Inc.
Shane G. Smith

MCDERMO'IT WILL & EMERY LLP

275 Middleneld Road, Suite 100

Menlo Parl<, CA 94025

(650) 815-7400

Sarah*C. Colurnbia

K. Nicole Clouse

Lauren Martin

MCDERMOTT WlLL & EMERY LLP
28 State Street

Boston, MA 02109-1775

(617) 535-4074

Dated: September 15, 2015

01;17634358.1
_31_

